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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

UNITED STATES OF AMERICA                §
                                        §
VS.                                     §   CRIMINAL NO. 4:23-CR-061-Y
                                        §
DEBORAH JOY ARMSTRONG (01)              §
MARK ANTHONY KIRKLAND (02)              §

              PRETRIAL AND SCHEDULING ORDER FOR CRIMINAL TRIAL

       All future pleadings filed in this cause shall contain the

defendant number, as reflected above, in the style of the cause.

Persistent failure to include the defendant number on future pleadings

may result in the striking of the deficient pleading.

       1.    This case is set for jury trial on May 22, 2023, at 1:30
p.m.
       2.    A pretrial conference will be conducted in the courtroom on

the fifth floor of the U.S. Courthouse, Fort Worth, Texas, on Thursday,

May 18, 2023, at 3:00 p.m.        The defendant, as well as their respective

counsel, must be present at the conference.                Each counsel must be

prepared to inform the Court of any unresolved motions or issues and

the status of any plea negotiations.

       3.    All   discovery    in   this   cause   requested   pursuant    to    and

required by Federal Rule of Criminal Procedure 16 must be completed

within a reasonable time prior to trial.            Absent a compelling excuse,

any evidence for which production or disclosure was timely requested

pursuant to and required by Rule 16 but not disclosed within a

reasonable time prior to trial will not be admitted at trial.
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     4.     Except as provided in this paragraph, all pretrial motions

must be filed no later than April 24, 2023.                   Defendants shall not

file any motion for, or to compel, discovery, disclosure, or production

unless (i) Defendants have first made written request of the government

for the desired discovery, disclosure, or production, which written

request must specify a time and date prior to the motions deadline

when discovery, disclosure, or production of the items is desired in

the Fort Worth office of the U.S. attorney, and (ii) the government

has failed to comply with the request.           The government must respond in

writing to any request made in accordance with this paragraph within

seven (7) days of receiving the request. The government shall indicate

either    that   the   discovery   will   be   allowed    or    the   disclosure   or

production will be made as requested or that the request or portions

thereof are objectionable, in which case the government must briefly

state the legal basis for the government's objections.                Lack of actual

possession of an item by the government will not be accepted as a

reason for non-production if the government can obtain possession of

the item or, if copyable, a copy of the item upon the government's

request.     If   the   government   does      not   comply    with   such   request,

defendants will be permitted to file a motion to compel or for

discovery or disclosure. Any such motion must be accompanied by copies

of any pertinent requests that were previously served by the movant

and verification as to service of each such request and the results of

the efforts to obtain the desired discovery, disclosure, or production

pursuant to each such request.
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     5.     The government shall file a response to every pretrial motion

filed by the defendants that is not ruled on before the government's

response to the motion is due. The government's response must indicate

whether it is opposed to the motion and, if the motion is opposed,

must include argument and authority in support of the government's

opposition.     If the government is prompted to file a pretrial motion

by reason of a pretrial motion filed by the defendants, the government

must file its motion within fourteen (14) days after Defendants’ motion

is filed.

     6.     Responses     to    any   pretrial   motion     must    be   filed   within

fourteen (14) days after the motion is filed.                     See N.D.Tex.Crim.R.

47.1(e).

     7.     Before a party files a motion for continuance, he shall

confer with counsel for all other parties concerning what dates each

cannot be available for trial over the ensuing ninety-day period.                  The

party's    motion   for   continuance     shall    then     set    out   those   dates.

Responses in opposition to a motion for continuance must be filed no

later than two days after the motion is filed.

     8.     All briefs filed with the Court shall comply with the most

recent    edition   of    The    Bluebook:   A    Uniform    System      of   Citation.

Particularly, counsel are directed to provide, where applicable, the

subsections of cited statutes, and to provide pinpoint citations when

citing cases, i.e., provide the page where the stated legal proposition

can be found.    See The Bluebook: A Uniform System of Citation B10.1.2,

at 13; B17.1.2, at 25; R. 3.2(a), at 73 (Columbia Law Review Ass'n. et
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al. eds., 21st ed. 2020) (regarding pinpoint citations and subsections,

respectively).        Furthermore,        if   a   brief   contains   citations      to

unpublished opinions or to LEXIS, counsel must attach copies of those

cases to the brief.

     9.    Pursuant    to    Local    Criminal      Rule   47.1,   certificates      of

conference must address all parties, including co-defendants, affected

by the requested relief.

     10.   The government must file a written designation of its expert

witnesses, if any, no later than April 14, 2023.               Each defendant must

file a written designation of their expert witnesses, if any, no later

than April 19, 2023.        Each designation must contain a brief statement

of the subject matter to be covered by each expert witness.                         Any

motions challenging these designations, including challenges under

Fed. R. Evid. 702, must be filed by the deadline for filing pretrial

motions established in this order.1

     11.   Northern    District      of    Texas   Local   Criminal    Rule   16.1(a)

notwithstanding, a set of copies of all copyable exhibits that a party

intends to offer at trial, except those offered solely for impeachment,

must be bound in three-ring binders and exchanged with all other

parties no later than the Thursday prior to trial; and a like set

delivered to the courtroom at the time of jury selection.




           1 If a party expects to elicit testimony from a witness regarding street
     values of drugs, drug-distribution practices of individuals or groups, the
     meaning of words and phrases used by persons in the distribution of drugs, the
     meaning of drugs notes, gang activities and practices, and the like, that
     witness must be designated as an expert.
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     12.   Each exhibit must be labeled prior to trial by a gummed label

containing the identity of the offering party, the exhibit number, and

the cause number.

     13.   Northern   District    of   Texas   Local   Criminal    Rule   16.1(b)

notwithstanding, the parties must file with the clerk and deliver to

all other parties and the court reporter, separate lists of exhibits

and witnesses, except those offered solely for impeachment, no later

than the Tuesday prior to trial.2         The witness lists to be filed by

the parties must list all witnesses, including timely designated expert

witnesses, the party may call at trial and contain a brief statement

of the subject matter to be covered by each witness.                Each party's

exhibit list shall be in the same format as the Court's sample exhibit

list, which is attached as Exhibit A to this order.

     14.   The use of the second-floor courtroom, which is equipped

with computer monitors that allow exhibits to be displayed by document

camera, VCR, or computer, cannot be guaranteed because that courtroom

is now assigned to the Honorable Reed O’Connor.            Upon request from a

party Judge Means will make every effort to secure the use of the

second-floor courtroom for this trial, but a final decision as to which

courtroom will be used (second floor or fifth floor--Room 501) cannot

be made until between one and two weeks prior to trial.



           2
             No additions or substitutions to these lists may be made after the
     deadline without leave of Court. Additionally, if a party desires to make
     additions or substitutions to these lists after they are filed with the clerk,
     the party should file an amended list that entirely supersedes the original
     list, rather than simply filing a supplemental list naming only the additions
     and/or substitutions.
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     If the trial is assigned to the second-floor courtroom, whoever

will be handling the documents for the parties must contact Brian

Rebecek, Fort Worth division manager, U.S. District Clerk’s Office, at

817-850-6613 prior to any hearing or trial to schedule training on the

electronic equipment.           If any additional equipment is needed, notify

Rebecek prior to trial to make arrangements for its passage by court

security.       Transcription and recording devices, except those employed

by the Court's official reporter, are not permitted.

     15.    Counsel for the government shall deliver to the Court and to

defense counsel each evening (if not earlier) a list of witnesses he

in good faith anticipates calling the next trial day.              All Jencks Act

material pertaining to each witness on the list should be delivered at

the same time if it has not already been delivered pursuant to prior

urgings    of    the   Court.      The   Court   strongly   encourages   the   early

production to defense counsel of any notes made by government agents

regarding interviews with witnesses that the government expects to

call to testify at trial.          Also, at the close of each day's testimony,

the government shall proffer in writing, in as close to verbatim form

as possible, any statements that it expects to introduce on the next

trial day pursuant to the following:

                a.   Federal Rule of Evidence 801(d)(2)(A), to
                     the extent that they involve potential
                     Bruton problems; and

                b.   Federal Rule of Evidence 801(d)(2)(E).

The Court will hear objections thereto by defendant(s) either at that

time or prior to the commencement of testimony the following day.
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     16.   The government shall file a proposed jury charge and verdict

form with the clerk of the Court and serve a copy of it on opposing

counsel no later than 4:00 p.m. on the Tuesday prior to the trial of

this cause. The proposed charge must have attached to it the following

certification:

                 I, (name of ass't. U.S. atty.), certify that
             I have carefully read the foregoing proposed
             charge of the Court and that it is, to the best
             of my knowledge and ability, free of error both
             in form and substance.

             _____________          __________________________
             Date                   Signature of attorney

Any objections, proposed additions, or proposed substitutions to the

government's proposed jury charge and verdict form must be filed with

the clerk of the Court and served on opposing counsel no later than

2:00 p.m. on the first day of trial and simultaneously emailed in Word

or   WordPerfect    format    to:    Means_Orders@txnd.uscourts.gov.            If

supplemental instructions become necessary due to the nature of the

evidence produced at trial, they must be filed and served as soon as

reasonably    possible    after     the   necessity     of   the    supplemental

instructions becomes apparent.       If objections, proposed additions, or

proposed substitutions to the government's charge are filed and served

in a timely manner, counsel for all parties shall meet prior to or

immediately after the close of the government's case in an attempt to

resolve their differences regarding the jury charge.                During this

meeting, the parties shall compile a conformed jury charge that

incorporates all agreements reached by the parties.             For any portion
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of the conformed charge about which disagreement remains at the

conclusion of the meeting, those portions that are requested by the

government and objected to by the defense shall be underlined, and

those portions that are requested by the defense and objected to by

the government shall be in boldface.         The parties' conformed charge

shall be filed with the clerk of the Court as soon as possible after

the conclusion of the parties' meeting.          The government shall email

the parties' conformed charge in WordPerfect or Word format to:

Means_Orders@txnd.uscourts.gov.

     17.   After the parties have closed, they shall meet for the

purpose of preparing an agreed index of all exhibits admitted into

evidence during the course of the trial.       As to each admitted exhibit,

the index must contain the exhibit number, the name of the offering

party, the name of the sponsoring witness, and a description of the

exhibit.   The exhibit index must be delivered to the courtroom deputy

for delivery to the jury at the commencement of deliberations.

     18.   At the time the government calls a witness to testify at

trial, counsel for the government shall state the count(s) of the

indictment to which that particular witness's testimony will relate.

     19.   Except in the case of a testifying defendant or government

case agent, the counsel who calls a witness shall have no further

discussions with that witness concerning any aspect of the case or his

testimony after the witness has been tendered for cross-examination

until such time as the witness has been tendered back for re-direct

examination.
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       20.    The parties shall provide to each witness no later than ten

minutes prior to the commencement of the witness's testimony, a copy

of Exhibit C to this order, which is entitled, "Instructions for

Witnesses."

       21.    The parties are hereby put on notice that Judge Means will

take the bench promptly at the appointed time for each session without

waiting until the clerk or courtroom security officer has called the

roll or otherwise ascertained the presence of all necessary parties.

If tardiness becomes a problem, appropriate fines will be imposed.

       22.    Bench conferences must be kept to a minimum.             Counsel must

state the legal bases for their objections without elaboration or

argument, unless invited.

       23.    Objections to exhibits and testimony may occasionally be met

with    the   following     procedure:    admission      of   the   exhibit   or   the

testimony with the understanding that the objection will be treated as

a motion to strike, with a ruling on the motion expressly reserved to

the end of the day's testimony when the matter may be fully discussed

out of the hearing of the jury.           An exhibit so treated will not be

published to the jury until the motion to strike has been ruled on.

       24.    Except for good cause shown, examination of witnesses will

be limited to direct, cross, and redirect.           Rule 611(b) of the Federal

Rules of Evidence will be strictly enforced.

       25.    The   Court   will   discourage   repetitive      examination    of   a

witness, whether on cross or direct, and will strongly admonish or

sanction any counsel who wastes the time of his colleagues, the Court,
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and the jury by failing to have witnesses present and prepared to

testify; by hunting for or causing a witness to hunt for exhibits; by

failing to have audio or video equipment tested, cued-up, and ready-

to-go; by failing to be timely in attendance; by attempting to argue

the case or make a speech to the jury during an objection; or in any

other manner.

     26.    The parties shall carefully observe the rules of courtroom

decorum that are attached as Exhibit B to this order.           These rules are

in addition to the Federal Rules of Criminal Procedure and the Local

Rules of the Northern District of Texas.

     27.    No later than one week prior to trial, the parties shall

provide to the reporter a copy of the party's witness list and a

glossary of all terms likely to be uttered on the record during the

trial that are technical, scientific, medical, or otherwise uncommon.

     28.    Entry into the spectator gallery of the courtroom will be

permitted only before the call to order and during recesses.              Anyone

who leaves the gallery while Court is in session may not return until

the Court declares a recess.

     29.    Voir dire in this case will be conducted initially by the

Court,     with   each   party   being   allotted     ten   (10)   minutes      for

supplementary voir dire.

     30.    Jurors will be permitted to take notes during trial.                The

Court will issue preliminary instructions to the jurors containing

appropriate warnings and instructions.
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 SIGNED March 21, 2023.


                                    _________________________________
                                    TERRY R. MEANS
                                    UNITED STATES DISTRICT JUDGE
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                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF TEXAS
                                         FORT WORTH DIVISION


UNITED STATES OF AMERICA                           §
                                                   §
VS.                                                §                      CRIMINAL NO. 4:00-CR-000-Y
                                                   §
JOHN DOE                                           §


                                 DEFENDANT JOHN DOE'S EXHIBIT LIST

EXHIBIT    SPONSORING      DESCRIPTION
NUMBER     WITNESS         OF EXHIBIT                   IDENTIFIED        OFFERED            ADMITTED

      1    Jane Doe        Bill of Sale dtd 1/5/92      __________        __________         __________

      2    Sally Doe       Contract dtd 1/9/92          __________        __________         __________




                                                 EXHIBIT "A"
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                                                     COURTROOM DECORUM
                                                 UNITED STATES DISTRICT COURT
                                                      Northern District of Texas
                                                  Honorable Terry R. Means, Presiding

(a)   The requirements stated herein are not all-inclusive, but are intended to emphasize and supplement the ethical obligations of
      counsel under the Code of Professional Responsibility, the Local Rules of the Northern District of Texas (LR 83.16-83.18,
      LCrR 53.1-53.3), and the time-honored customs of experienced trial counsel.

(b)   When appearing in this Court, all counsel (including, where applicable, all persons at counsel table) shall abide by the
      following, unless excused by the presiding judge:

      (1)      Stand as Court is opened, recessed, or adjourned.

      (2)      Stand when the jury enters or retires from the courtroom.

      (3)      Stand when addressing, or being addressed by, the Court.

      (4)      Stand at the lectern while examining any witness, except that counsel may approach the clerk's desk or the witness
               for purposes of handling or tendering exhibits.

      (5)      Stand at the lectern while making opening statements or closing arguments.

      (6)      Address all remarks to the Court, not to opposing counsel.

      (7)      Avoid disparaging personal remarks or acrimony toward opposing counsel and remain wholly detached from any
               ill-feeling between the litigants or witnesses.

      (8)      Refer to all persons, including witnesses, other counsel, and the parties by their surnames and not by their first or
               given names.

      (9)      Only one attorney for each party may examine or cross examine each witness. The attorney stating objections, if
               any, during direct examination will be the attorney recognized for cross examination.

      (10)     Any counsel who calls a witness shall have no further discussions with that witness concerning any aspect of the
               case or his testimony after the witness has been tendered for cross-examination until such time as the witness has
               been tendered back for re-direct examination.

      (11)     Request permission before approaching the bench.

      (12)     Any paper or exhibit not previously marked for identification must be marked before it is tendered to a witness for
               examination, and any exhibit offered in evidence must be handed to opposing counsel when offered.

      (13)     In making objections counsel must state only the legal grounds for the objection and must withhold further comment
               or argument unless elaboration is requested by the Court.

      (14)     When examining a witness, counsel may not repeat the answer given by the witness.

      (15)     Offers of, or requests for, a stipulation must be made privately, not within the hearing of the jury.

      (16)     In opening statements and in arguments to the jury, counsel may not express personal knowledge or opinion
               concerning any matter in issue (i.e., don’t say “I think” or “I believe,” etc.) and, may not read or purport to read from
               deposition or trial transcripts.

      (17)     Counsel must admonish all persons at counsel table that gestures, facial expressions, audible comments, or the like,
               as manifestations of approval or disapproval during the testimony of witnesses, or at any other time, are absolutely
               prohibited.

      (18)     No one, including especially attorneys, parties, and witnesses, may bring food or drink (except bottled water) into
               the courtroom, nor may they chew gum.

                                                              EXHIBIT "B"                                          [Revised 7-10-12]
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                     INSTRUCTIONS FOR WITNESSES


1.   Speak slowly and distinctly. Don’t mumble. Enunciate clearly
     each word you speak. The courtroom is large and has a high
     ceiling, so it’s hard to be heard at times.
2.   The courtroom has a sound system, but if you get too close or
     too far away from the microphone, we may not be able to hear
     you. Listen to how you sound and adjust your distance from
     the microphone and the volume of your voice as needed to be
     clearly heard by everyone in the courtroom.
3.   Don’t let nervousness cause you to speak rapidly or fail to
     sound each syllable of your words. For example, if you were
     to say the word “syllable,” say “SILL-uh-bull” not “SILL-
     bull.” Or if the word is “officer,” say “AW-fiss-ur,” not
     “AWF-sur.” Again, if the word is “composition,” say all four
     syllables (“com-po-ZIH-shun”). Don’t turn the word into a
     three-syllable word (“comp-ZIH-shun”).
4.   Let the attorney who is questioning you finish his question
     before you begin your answer.
5.   Pause a second between the end of the attorney’s questions
     and the beginning of your answers.    This gives everyone a
     chance to think a little about what is being said.
6.   If you hear an objection to a question, do not give an answer
     until the judge rules on the objection. If you are unsure of
     whether to begin your answer or if by then you don’t remember
     the question, ask the judge to tell you what to do. He will
     gladly help you.




                              EXHIBIT "C"
